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                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA

                                                 Case No. 22-CR-20142


            UNITED STATES OF AMERICA

            vs.

            CHRISTIAN JAMIL SUAZO SANCHEZ,

                   Defendant.
            - - - - - - - --           - - - - - - - - - ~/


                                                  PLEA AGREEMENT


                   The United States Attorney' s Office for the Southern District of Florida ("this Office") and

            CHRISTIAN JAMIL SUAZO SANCHEZ (hereinafter referred to as the "defendant") enter into

            the following agreement:

                    1. The defendant agrees to plead guilty to Counts One and Two of the Information, which

            charges that:

                            (a) from in or about January 2018 to in or about November 2020, in Miami-Dade

            County, in the Southern District of Florida, and elsewhere, the defendant, did knowingly and

            willfully combine, conspire, confederate and agree with other persons known and unknown to the

            U.S. Attorney, to commit offenses defined in Title 18, United States Code, Sections 1956, that is,

            to knowingly conduct financial transactions affecting interstate and foreign commerce, which

            transactions involved the proceeds of specified unlawful activity, knowing the funds involved in

            the transactions represented the proceeds of some form of unlawful activity, knowing that the

            transactions were designed in whole and in part to conceal and disguise the nature , location source,
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             ownership and control of the proceeds of the specified unlawful activity, in violation of Title 18,

             United States Code, Sectionl 956(a)(1 )(B)(i); and

                            (b) from in or about January 2018 to in or about November 2020, in the countries

             of Colombia, Costa Rica, Guatemala, Honduras, Panama, Mexico and elsewhere, the defendant

             did knowingly and willfully conspire to distribute a controlled substance, specifically 5 kilograms

             or more of a substance containing cocaine, knowing that such substance would be unlawfully

             imported into the United States, in violation of Title 21 , United States Code, Sections 959 and 963.

                    2. The defendant is aware that the sentence will be imposed by the Court after considering

             the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter " Sentencing

             Guidelines"). The defendant acknowledges and understands that the Court will compute an

             advisory sentence under the Sentencing Guidelines and that the applicable guidelines will be

             determined by the Court relying in part on the results of a pre-sentence investigation by the Court' s

             probation office, which investigation will commence after the guilty plea has been entered. The

             defendant is also aware that, under certain circumstances, the Court may depart from the advisory

             Sentencing Guidelines range that it has computed and may raise or lower that advisory sentence

             under the Sentencing Guidelines . The defendant is further aware and understands that the Court

             is required to consider the advisory guideline range determined under the Sentencing Guidelines

             but is not bound to impose a sentence within that advisory range; the Court is permitted to tailor

             the ultimate sentence in light of other statutory concerns, and such sentence may be either more

             severe or less severe than the Sentencing Guidelines' advisory range. Knowing these facts, the

             defendant understands and acknowledges that the Court has the authority to impose any sentence
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    within and up to the statutory maximum authorized by law for the offenses identified in paragraph

    1 and that the defendant may not withdraw the plea solely as a result of the sentence imposed.

            3. The defendant also understands and acknowledges that, as to Count One, the Court

    may impose a statutory maximum term of imprisonment of up to 20 years, followed by a term of

    supervised release of up to five years. In addition to a term of imprisonment and supervised

    release, as to Count One, the Court may impose a fine of up to $500,000 or twice the value of the

    property involved in the transaction, whichever greater. As to Count Two, the Court may impose

    a statutory maximum term of imprisonment ofup to life imprisonment and must impose a statutory

    minimum term of 10 years ' imprisonment, followed by a term of supervised release of at least 5

    years and up to a lifetime of supervised release.      In addition to a term of imprisonment and

    supervised release, as to Count Two, the Court may impose a fine of up to $10,000,000. The

    Court may also impose that the sentences on Counts One and Two run consecutively.

           4. The defendant further understands and acknowledges that, in addition to any sentence

    imposed under paragraph 3 of this agreement, a special assessment in the amount of$100 will be

    imposed on the defendant for each count.        The defendant agrees that any special assessment

    imposed shall be paid at the time of sentencing. If the defendant is financially unable to pay the

    special assessment, the defendant agrees to present evidence to this Office and the Court at the

    time of sentencing as to the reasons for the defendant' s failure to pay.

           5. This Office reserves the right to inform the Court and the probation office of all facts

    pertinent to the sentencing process, including all relevant information concerning the offenses

    committed, whether charged or not, as well as concerning the defendant and the defendant's

    background.    Subject only to the ex pres s term s of any agreed-upon sente ncin g recommendations
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            contained in this agreement, this Office further reserves the right to make any recommendation as

            to the quality and quantity of punishment. This Office agrees to recommend a sentence at the low

            end of the Guidelines range, with the exception of a variance or departure noted in paragraph 7(d)

            below, and expressly reserves the right to argue that the Guidelines calculated by the probation

            office are correct and should be thus applied even if different from the calculations noted below in

            paragraph 7.

                   6. This Office agrees that it will recommend at sentencing that the Court reduce by two

            levels the Sentencing Guidelines level applicable to the defendant's offense, pursuant to Section

            3El.l(a) of the Sentencing Guidelines, based upon the defendant's recognition and affirmative

            and timely acceptance of personal responsibi.lity. If at the time of sentencing the defendant's

            offense level is determined to be 16 or greater, this Office will file a motion requesting an

            additional one level decrease pursuant to Section 3E 1.1 (b) of the Sentencing Guidelines, stating

            that the defendant has assisted authorities in the investigation or prosecution of the defendant's

            own misconduct by timely notifying authorities of the defendant's intention to enter a plea of

            guilty, thereby permitting the government to avoid preparing for trial and permitting the

            government and the Court to allocate their resources efficiently. This Office, however, will not

            be required to make this motion and this recommendation if the defendant: (1) fails or refuses to

            make a full , accurate and complete disclosure to the probation office of the circumstances

            surrounding the relevant offense conduct; (2) is found to have misrepresented facts to the

            government prior to entering into this plea agreement; or (3) commits any misconduct after

            entering into this plea agreement, including but not limited to committing a state or federal offense,
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    violating any term of release, or making false statements or misrepresentations to any

    governmental entity or official.

            7. This Office and the defendant agree that, although not binding on the probation office

    or the Court, they will jointly recommend that the Court make the following findings and

    conclusions as to the sentence to be imposed:

                    (a)     Count One is analyzed under Sentencing Section 2S 1.1 and the loss

    (laundered) amount for which the defendant should be held responsible under the table found in

    Sentencing Guide) ines Section 2B 1.1 (b )(1 )(I) is more than $1.5 million but less than $3 .5 million,

    with the Guidelines calculated as follows:

                            Base offense level 8,

                            Plus 16 points for loss amount noted above,

                            Plus 6 points for narcotics trafficking as the underlying offense,

                            Plus 2 points for a violation of Section 1956,

                            Yielding a total offense level of 32, without taking into account a

                            reduction for acceptance of responsibility;

                    (b)     That the quantity of cocaine involved in Count Two, for purposes of Section

    2DI. l(a) and (c) of the Sentencing Guidelines, is at least 50 kilograms but less than 150 kilograms;

                    (c)     That the two counts are related and should be grouped together under the

    Guidelines analysis;

                    (d)     That the defendant' s early decision to cooperate is a valid sentencing

    consideration and should either be evaluated as a factor under Section 3553 if no motion pursuant

    to Guidelines Section 5Kl.l is made at se ntencing or, if n o t cons idered by the Court at sente ncin g,
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            considered by the government and Court in determining the appropriate reduction if a motion

            pursuant to Rule 35 is later filed.

                    8.      As to Count Two specifically, this Office and the defendant agree that, although

            not binding on the probation office or the Court, they will jointly recommend that, pursuant to

            Section SC 1.2 of the Sentencing Guidelines, the Court impose a sentence within the Sentencing

            Guidelines range without regard to any statutory minimum sentence identified in paragraph 3

            above, provided that:

                            (a)      the defendant is not found to have more than one criminal history point, as

            determined under the Sentencing Guidelines;

                            (b)      not later than the time of the sentencing hearing the defendant provides to

            this Office a statement truthfully setting forth all information and evidence the defendant has

            concerning the offense or offenses that were part of the same course of conduct or of a common

            scheme or plan as charged in the indictment; and

                            (c)      the defendant is not found to have used violence or threats of violence, or

            to have possessed a firearm or other dangerous weapon in connection with the offense; that the

            offense did not result in death or serious bodily injury to any person; and that the defendant is not

            found to have been an organizer, leader, manager, or supervisor of others in the offense.

                    9. The defendant is aware that the sentence has not yet been determined by the Court.

            The defendant also is aware that any estimate of the probable sentencing range or sentence that the

            defendant may receive, whether that estimate comes from the defendant's attorney, this Office, or

            the probation office, is a prediction, not a promise, and is not binding on this Office, the probation

            office or the Court.    The defendant understands further that any recommendation that this Office
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    makes to the Court as to sentencing, whether pursuant to this agreement or otherwise, is not binding

    on the Court and the Court may disregard the recommendation in its entirety. The defendant

    understands and acknowledges, as previously acknowledged in paragraph 2 above, that the

    defendant may not withdraw his plea based upon the Court's decision not to accept a sentencing

    recommendation made by the defendant, this Office, or a recommendation made jointly by the

    defendant and this Office.

           10. The defendant agrees that he shall cooperate fully with this Office by: (a) providing

    truthful and complete information and testimony, and producing documents, records and other

    evidence, when called upon by this Office, whether in interviews, before a grand jury, or at any

    trial or other Court proceeding; (b) appearing at such grand jury proceedings, hearings, trials, and

    other judicial proceedings, and at meetings, as may be required by this Office; and (c) if requested

    by this Office, working in an undercover role under the supervision of, and in compliance with,

    law enforcement officers and agents. In addition, the defendant agrees that he will not protect

    any person or entity through false information or omission, that he will not falsely implicate any

    person or entity, and that he that he will not commit any further crimes.

           11. This Office reserves the right to evaluate the nature and extent of the defendant's

    cooperation and to make that cooperation, or lack thereof, known to the Court at the time of

    sentencing. If in the sole and unreviewable judgment of this Office the defendant's cooperation

    is of such quality and significance to the investigation or prosecution of other criminal matters as

    to warrant the Court's downward departure from the advisory sentencing range calculated under

    the Sentencing Guidelines and/or any applicable minimum mandatory sentence, this Office may

    make a motion prior to sentencing pursuant to Section 5K 1.1 of the Sentencing Guidelines and/or
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            Title 18, United States Code, Section 3553(e), or subsequent to sentencing pursuant to Rule 35 of

            the Federal Rules of Criminal Procedure, informing the Court that the defendant has provided

            substantial assistance and recommending that the defendant' s sentence be reduced.                The

            defendant understands and agrees, however, that nothing in this agreement requires this Office to

            file any such motions, and that this Office's assessment of the quality and significance of the

            defendant's cooperation shall be binding as it relates to the appropriateness of this Office's filing

            or non-filing of a motion to reduce sentence.

                    12. The defendant understands and acknowledges that the Court is under no obligation to

            grant a motion for reduction of sentence filed by this Office. In addition, the defendant further

            understands and acknowledges that the Court is under no obligation of any type to reduce the

            defendant's sentence because of the defendant' s cooperation.

                    13. It is understood that should the defendant knowingly provide incomplete or untruthful

            testimony, statements, or information pursuant to this agreement, or should the defendant falsely

            implicate or incriminate any person, or should the defendant fail to voluntarily and unreservedly

            disclose and provide full, complete, truthful, and honest knowledge, information, and cooperation

            regarding any of the matters noted herein, the following conditions shall apply:

                            (a)     The defendant may be prosecuted for any perjury or false declarations, if

            any, committed while testifying pursuant to this agreement, or for obstruction of justice.

                            (b)     The United States may prosecute the defendant for the charges which are to

            be dismissed pursuant to this agreement, if any, and may either seek reinstatement of or refile such

            charges and prosecute the defendant thereon in the event such charges have been dismissed

            purs uant to this agree ment.   With regard to such charges , if any , which have been dismissed , the
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            defendant, being fully aware of the nature of all such charges now pending in the instant case, and

            being further aware of defendant's rights, as to all felony charges pending in such cases (those

            offenses punishable by imprisonment for a term of over one year), to not be held to answer to said

            felony charges unless on a presentment or indictment of a grand jury, and further being aware that

            all such felony charges in the instant case have heretofore properly been returned by the indictment

            of a grand jury, does hereby agree to reinstatement of such charges by decision of any order

            dismissing them or, alternatively, does hereby waive, in open court, prosecution by indictment and

            consents that the United States may proceed by information instead of by indictment with regard

            to any felony charges which may be dismissed in the instant case, pursuant to this plea agreement,

            and the defendant further agrees to waive the statute of limitations and any speedy trial claims on

            such charges.

                            (c)    The United States may prosecute the defendant for any offenses set forth

            herein, if any, the prosecution of which in accordance with this agreement, the United States agrees

            to forego, and the defendant agrees to waive the statute of limitations and any speedy trial claims

            as to any such offenses.

                            (d)    The government may use against the defendant the defendant's own

            admissions and statements and the information and books, papers, documents, and objects that the

            defendant has furnished in the course of the defendant's cooperation with the government.

                            (e)    The defendant will not be permitted to withdraw the guilty pleas to those

            counts to which defendant hereby agrees to plead in the instant case.

                   14. The defendant agrees, in an individual and any other capacity, to forfeit to the United

            States, voluntarily and immediately, any right, title, and interest to any (i) property, real or
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     personal, involved in the commission of the offenses, in violation of 18 U .S.C. § 1956, or any

     property traceable to such property, pursuant to 18 U.S.C. § 982(a)(l)(A), and the provisions of

     21 U.S.C. § 853; and (ii) property constituting, or derived from, any proceeds obtained, directly or

     indirectly, as the result of a violation of 21 U.S.C . § 963, and any property used or intended to be

     used, in any manner or part, to commit, or to facilitate the commission of, such violation, pursuant

     to 21 U.S.C. § 853. In addition, the defendant agrees to forfeiture of substitute property pursuant

     to 21 U.S.C. § 853(p). The property subject to forfeiture includes, but is not limited to:

                    (a)     a forfeiture money judgment in the sum of $150,000.00 in United States

     currency, which sum represents the value of any property constituting, or derived from , any

     proceeds the defendant obtained as the result of the commission of the offenses, and/or any

     property used or intended to be used, in any manner or part, to commit, or to facilitate the

     commission of, such violations; and

                    (b)     One (1) Rolex GMT Master II, serial number 282V2217;

                    (c)     One (1) gold chain, 28 inches long, stamped " 14K Italy"; and

                    (d)     Approximately $38,923.26 in U.S. currency, seized on or about August 27,

                            2020.

            15. The defendant further agrees that forfeiture is independent of any assessment, fine ,

     cost, restitution, or penalty that may be imposed by the Court. The defendant knowingly and

     voluntarily agrees to waive all constitutional , legal, and equitable defenses to the forfeiture,

     including excessive fines under the Eighth Amendment to the United States Constitution. In

     addition, the defendant agrees to waive: any applicable time limits for administrative or judicial

     forfeiture proceedings, the requirements of Fed . R. Crim . P. 32.2 and 43(a), and any appeal of the
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     forfeiture .

              16. The defendant also agrees to assist this Office in all proceedings, administrative or

     judicial, involving forfeiture to the United States of any property, including substitute property,

     regardless of its nature or form , real or personal , which the defendant or others known to the

     defendant, have accumulated as a result of illegal activities.        The assistance shall include:

     identification of any property subject to forfeiture, agreement to the entry of an order enjoining the

     transfer or encumbrance of such property, and the transfer of such property to the United States by

     delivery to this Office upon this Office's request, any necessary and appropriate documentation,

     including consents to forfeiture and quit claim deeds, to deliver good and marketable title to such

     property.

              17. The defendant is aware that Title 28, United States Code, Section 1291 and Title 18,

     United States Code, Section 3742 afford the defendant the right to appeal the sentence imposed in

     this case. Acknowledging this, in exchange for the undertakings made by the United States in

     this plea agreement, the defendant hereby waives all rights conferred by Sections 1291 and 3742

     to appeal any sentence imposed, including any restitution order, or to appeal the manner in which

     the sentence was imposed, unless the sentence exceeds the maximum permitted by statute or is the

     result of an upward departure and/or an upward variance from the advisory guideline range that

     the Court establishes at sentencing.     The defendant further understands that nothing in this

     agreement shall affect the government's right and/or duty to appeal as set forth in Title 18, United

     States Code, Section 3742(b) and Title 28, United States Code, Section 1291. However, if the

     United States appeals the defendant' s sentence pursuant to Sections 3742(b) and 1291 , the

     defendant shall be released from the above waiver of his right to appeal his sentence.           The
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               defendant further hereby waives all rights conferred by Title 28, United States Code, Section 1291

               to assert any claim that (1) the statute(s) to which the defendant is pleading guilty is/are

               unconstitutional; and/or (2) the admitted conduct does not fall within the scope of the statute(s) of

               conviction.   By signing this agreement, the defendant acknowledges that the defendant has

               discussed the appeal waiver set forth in this agreement with the defendant's attorney.             The

               defendant further agrees, together with this Office, to request that the Court enter a specific finding

               that the defendant' s waiver of his right to appeal the sentence imposed in this case and his right to

               appeal his conviction in the manner described above was knowing and voluntary .

                       18. The defendant recognizes that pleading guilty may have consequences with respect to

               the defendant' s immigration status if the defendant is not a citizen of the United States. Under

               federal law, a broad range of crimes are removable offenses, including the offense to which the

               defendant is pleading guilty.     Indeed, because the defendant is pleading guilty to narcotics

               trafficking, removal is presumptively mandatory.        The defendant knowingly and voluntarily

               consents to removal from the United States following completion of his sentence, waives any rights

               relating to any and all forms of relief from removal or exclusion, agrees to abandon any pending

               applications for such relief, and agrees to cooperate with the Department of Homeland Security

               during removal proceedings.
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             19. This is the entire agreement and understanding between this Office and the defendant.

     There are no other agreements, promises, representations, or understandings and this agreement

     supersedes any prior agreements, including any Kastigar letter agreements entered.

                                          JUAN ANTONIO GONZALEZ


     Date:
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                                                 CHRISTINE BERNAND                ~
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